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                                          January 16, 2024



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RE: Pennsylvania State Conference of NAACP Branches, et al v. Northampton
County Board of Elections, et al
Case Number: 23-3166
District Court Case Number: 1-22-cv-00339


Dear Counsel:

The above-entitled case has been listed for at the convenience to the Court.

At the time that the Court schedules a disposition date, the panel will determine whether there
will be oral argument and if so, the amount of time allocated for each side. (See Third Circuit
Internal Operating Procedures, Chapter 2.1.) No later than one (1) week prior to the disposition
date you will be advised whether oral argument will be required, the amount of time allocated by
the panel, and the specific date on which argument will be scheduled.

Counsel shall file an acknowledgment form within seven (7) days from the date of this letter,
and advise the name of the attorney who will present oral argument. In addition, please indicate
whether or not s/he is a member of the bar of this Court. Bar membership is not necessary if
counsel represents a U.S. government agency or officer thereof or if the party is appearing pro
se. If the attorney is not a member of the bar of this Court, an application for admission should
be completed, which should be returned to this office without delay.

The hyperlinks for access to the acknowledgment form, application for admission, and
appearance form are provided for your convenience, and are also available on the Third Circuit
website.

Please file your completed acknowledgment form through CM/ECF.

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk

By:



Ashley Ritz
Calendar Clerk
267-299-4947
